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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER

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 ATTORNEY(S) FOR:     Plaintiff
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
LEWIS BLACK, individually and on behalf of
Stark Raving Black Productions, Inc.,                                                               2:22-CV-04634
                                                              Plaintiff(s),
                                     v.
PANDORA MEDIA, LLC                                                                           CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                       Plaintiff
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                        PARTY                                                          CONNECTION / INTEREST
LEWIS BLACK, individually and on behalf of Stark Raving                       Party
Black Productions, Inc.

PANDORA MEDIA, LLC                                                            Party




         7/7/2022                                          /s/ Richard S. Busch.
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiff



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
